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                                   STATE OF MICHIGAN
                            DEPARTMENT OF ATTORNEY GENERAL


                                                                         2860 EYDE PARKWAY
                                                               EAST LANSING, MICHIGAN 48823


                                     DANA NESSEL
                                  ATTORNEY GENERAL


                                   March 13, 2023



Dineen Family Vineyards, L.L.C.
d/b/a Dineen Family Vineyards
Attn: Patrick J. Dineen, Registered Agent
1175 Broadway E., Unit 8
Seattle, WA 98102

Re:    Cease and Desist Unlicensed Direct Shipping of Alcoholic Liquor

Dear Mr. Dineen:

       This office has confirmed that Dineen Family Vineyards, L.L.C. d/b/a Dineen
Family Vineyards has been directly shipping wine into the State of Michigan
despite not possessing a direct shipper license. This conclusion arises from the
attached excerpt from a common carrier report filed with the Michigan Liquor
Control Commission (MLCC) demonstrating the business’s ongoing practice of
receiving money from customers in exchange for direct shipments of wine, contrary
to the Michigan Liquor Control Code of 1998 (Liquor Code). See MCL 436.1101, et
seq. More specifically, MCL 436.1203(1) prohibits a person from selling, delivering,
or importing alcoholic liquor into this state unless authorized. Directly shipping
wine to consumers in Michigan is authorized only through licensure under MCL
436.1203(10). Accordingly, the business and anyone affiliated with its operation are
ordered to cease this illegal activity or face possible criminal charges.

       The party mentioned above must cease and desist its ongoing practice of
selling, furnishing, or shipping alcoholic liquor to customers in Michigan. This
activity violates the Liquor Code and constitutes criminal activity. According to
MCL 436.1909(3), any person who “performs any act for which a license is required
under this act without first obtaining that license or who sells alcoholic liquor in a
county that has prohibited the sale of alcoholic liquor . . . is guilty of a felony
punishable by imprisonment for not more than 1 year or by a fine of not more than
$1,000.00 or both.” Moreover, a person who sells, delivers, or imports wine in
violation of MCL 436.1203(1) is subject to civil or criminal penalties of up to four
years imprisonment or a $5,000 fine, or both. MCL 436.1909(5).

      The U.S. Constitution, in the Twenty-first Amendment, reserves the right to
control alcoholic beverages to the individual states, and each state has its own


                                                                          EXHIBIT 1
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system of licensing, taxation, and regulation to prevent unauthorized sales. See
U.S. Const Amend XXI; see also 1963 Mich Const Art. IV, §40. The Michigan
Legislature has established a system of licensing, taxation, and enforcement
standards, which the MLCC is responsible for implementing. The essence of such a
control system is that alcoholic beverages, while legal, are controlled substances
which are susceptible to misuse or abuse. Liquor licensees, who are authorized to
sell alcoholic beverages, are directly accountable to the MLCC.

       Dineen Family Vineyards, L.L.C. d/b/a Dineen Family Vineyards is also
violating the Michigan Consumer Protection Act (CPA) by promoting and falsely
representing to the public that its business is legal. Section 3 of the CPA, MCL
445.903(1)(a), prohibits representations that cause a probability of confusion or
misunderstanding as to their approval. A persistent and knowing violation of this
law may result in a court assessing a civil penalty of $25,000, along with costs and
attorney fees, in favor of the Attorney General. See MCL 445.905.

       The statutes and possible legal actions stated in this letter are by no means
exhaustive; this letter is intended only to place Dineen Family Vineyards, L.L.C.
d/b/a Dineen Family Vineyards and persons affiliated with its operation on notice
that the business is violating the laws prohibiting unlicensed persons from directly
shipping wine to Michigan consumers. If this activity fails to cease within 14 days
of your receipt of this letter, our office will take legal action to stop it. This may
include filing criminal charges.

                                        Sincerely yours,




                                        Donald S. McGehee
                                        Division Chief
                                        Alcohol and Gambling Enforcement Division
                                        (517) 241-0210
                                        Fax: (517) 241-1074




                                                                        EXHIBIT 1
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Shipper Company               Shipper Address      City      State   Zip     Recipient Name    Recipient Address   City     State Zip     Tracking ID    Ship Date    Delivery DatePkg W Qty      Type          Kind      Est. Vol. ML

DINEEN FAMILY VINEYARDS LLC   2980 GILBERT RD      ZILLAH    WA      98953   BRIANA SHAEFFER   67 LARCHWOOD DR     TROY     MI    48083   770153622150   10/10/2022   10/14/2022   39          13 Unavailable   Alcohol      750
Dineen Family Vineyards LLC   1175 Broadway East   SEATTLE   WA      98102   Mathew Horkey`    12792 Dixon Road    DUNDEE   MI    48131   777667064008   8/16/2022    8/18/2022 11.00           3 Bottle        Wine         750




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FedEx Common Carrier Report 1 Quarter 2023 FedEx Ground


DINEEN FAMILY VINEYARDS LLC 17252 S MAIN ST       GARDENA      CA   90248 ALEX JOKANOVIC       1206 ROYAL AVE   ROYAL
OAK    MI     48073 393207828136 01/11/2023       01/17/2023   18   6     Unavailable  Alcohol 750




                                                                                                           EXHIBIT 1
